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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                               No. 12-39V
                                           Filed: June 24, 2016

* * * * * * *                *    *   *   *
                                          *   *           UNPUBLISHED
SHANNON BARRY,                            *
                                          *
                       Petitioner,        *               Chief Special Master Dorsey
                                          *
v.                                        *               Joint Stipulation on Damages;
                                          *               Influenza (“Flu”) Vaccine; Postural
SECRETARY OF HEALTH                       *               Orthostatic Tachycardia Syndrome
AND HUMAN SERVICES,                       *               (“POTS”)
                                          *
                       Respondent.        *
                                          *
* * * * * * * * * * * * *
Aaron Siri, Siri and Glimstad LLP, New York, NY, for petitioner.
Alexis B. Babcock, United States Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

        On January 19, 2012, Shannon Barry (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to 34 (2012). The
petition alleged that, as a result of receiving an influenza (“flu”) vaccination on January 21,
2009, petitioner suffered from Postural Orthostatic Tachycardia Syndrome (“POTS”).
Stipulation at ¶ 2, 4. Petitioner further alleged that she experienced the residual effects of this
condition for more than six months. Id. at ¶ 4.

       On June 23, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that the flu vaccine caused petitioner’s

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                      1
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alleged POTS or any other injury or condition. Stipulation at ¶ 6. Nevertheless, the parties agree
to the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    (1) A lump sum of $40,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C. §
        300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
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